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7
8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )
12                                      )   MAG No. 2:09-mj-196 KJM
                 Plaintiff,             )
13                                      )
                 v.                     )   STIPULATION AND ORDER (AMENDED)
14                                      )   WAIVING PRELIMINARY HEARING FOR
     ALEX ZAVALA-TAPIA, et al.,         )   DEFENDANT ALEX ZAVALA-TAPIA
15                                      )
                 Defendants.            )   Court: Hon. Kimberly J. Mueller
16                                      )   Date: July 2, 2009
                                        )   Time: 2:00 p.m.
17
18         It is hereby stipulated by and between plaintiff United

19   States of America, on the one hand, and defendant Alex Zavala-

20   Tapia, on the other hand, through their respective counsel that:

21         1.   Defense counsel has advised Zavala-Tapia of his right

22   under F.R. Crim.P. 5.1 to a timely preliminary examination, and

23   Zavala-Tapia voluntarily, knowingly, and intelligently waives

24   that right;

25         2.   The July 2, 2009, at 2:00 p.m., hearing set for Zavala-

26   Tapia's preliminary hearing shall be vacated; and

27   ///

28   ///
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1         3.      Zavala-Tapia's arraignment on an Indictment, if any,
2    shall be held on July 17, 2009, at 2:00 p.m.
3    Dated:    July 1, 2009                      LAWRENCE G. BROWN
                                                 Acting United States Attorney
4
                                                 /s/   Samuel Wong
5                                        By:
                                                 SAMUEL WONG
6                                                Assistant U.S. Attorney
7
                                         /s/ Ben D. Galloway
8    Dated:    July 1, 2009
                                         BEN D. GALLOWAY
9                                        Assistant Federal Defender
                                         Attorney for defendant
10                                       Alex Zavala-Tapia
                                         (per telephone authorization)
11
12                 __________________________________________
13
14                                       ORDER
15
16        Pursuant to amended stipulation of the parties, and good
17   cause appearing therefrom, the Court hereby adopts the parties'
18   stipulation in its entirety as the Court's order.
19
20   Dated: July 2, 2009.
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